 

Case 3:04-cv-03360-S| Document 177-1 Filed 09/05/06 Page 1 of 29

PACIFIC ECoNoMiC CoNSULTANTs, INC.

 

3732 MOUNT D|ABLO BOULEVARD, SUlTE 372 TELEPHONE: (925) 299*1?00
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lane 15, 2006

R. Scott Erlewine

Phillips, Erlewine & Given LLP
One Embarcadero Center, 23rd Floor
San Francisco, California 941 ll

Re: I-Iardeman v. National Railroad Passenger Corp.

Dear Mr. Erlewine:

As Chief Economist of Pacitic Economic Consultants, lnc. l have been retained to evaluate the
economic losses to Mr. C. Faheem R. Hardeman in the above-captioned case. l have also been
retained to evaluate economic loss opinions provided by Richard Paltin, the retained economist
for the plaintiff

In order to complete the assignment, l have reviewed the following documents:

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Stipulation for a Protective Order; Order;

Income Tax Returns, 2002-2004;

W-2 Staternent for Mrs. Hardeman, 2005;

Staternents reflecting real estate commissions for 2005;

Expert witness report of Richard A. Paltin

Expert witness report of Don Dunning

Collective Bargaining Agreement (AMTRAK 0001-00432);

Mr_ Hardernan’s earnings history (AMTRAK 0057] -00662);

Arntrak Benetits Handbook and Supplement (AMTRAK 04113-04272);

Surnmary of Benefits f Los Angeles (AMTRAK 04340-04342);

Railroad Retirement ands Survivors Beneiits Handbook (AMTRAK 04273-04339);
Engineer wage rates at Amtrak (AMTRAK 02691-02693);

Excel spreadsheet containing daily payroll information for Mr- Hardeman, 111/2000 m
5/30/2003;

National Railroad Passengcr Corporation Detail Earnings Report, 2000 ~ 2003.

EXH|B|T A

SOUTHERN CALIFORNLA OFFICE.

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R. Scott Erlewine
Page 2
June l5, 2006

Sllmma§y of Analysis:

l have also performed additional research l have spoken with Mr. Warren Reisig, 'Senior
Director of Compensation and Benefits for Amtrak, regarding Mr. Hardeman’s fringe benefits
had he remained employed as a Train Engineer at Amtrak. l have consulted railroad worker
worklife tables published in the lournal of Forensic Economics to calculate l\/lr. Hardeman’s
expected worklife had he remained employed with Amtral<. Finally, I have consulted data
published in the Economic Report of the President regarding interest rates and American
worker’s wages from 1975 to 2005.

l\/Ir. Hardeman became employed with Amtralr on June 24, l992, and was terminated on May 30,
2003. At the date of termination, Mr. Hardeman’s base wage rate was $27.24 per hour. 7
Excluding a non-recurring vacation payout of $3,999.56 on May 30, 2003, Mr. Hardernan’s
annualized rate of earnings in 2003 was 365,966 per year. The annualized earnings rate of
$65,966 was used as the basis for calculating l\/Ir. Hardeman’s lost earnings for 2003, and was
increased by .5874% to 366,353 effective lilly l, 2003 to reflect the base hourly wage increase
for Train Engineers that occurred on that date.

l\/lr. Hardeman’s economic losses at Amtrak in 2003 are offset by his earnings from real estate
sales. I have reduced the economic losses in 2003 by $12,680, the actual amount o_f business
income reported on l\/lr. Hardeman’s 2003 Income Tax Retum. Mr. Hardeman’s actual income
in 2003 was consistent with the expected income for May through December of 2003 as
indicated in the expert report of Mr. Don Dunning.

The expert report of Mr, Dunning sets forth expected real estate net income of $141,91 8 in 2004
and 3131,958 in 2005. l\/lr. Dunning also provides an opinion of earnings in 2006 and thereafter
Given that expected real estate income beginning in 2004 is in excess of earning capacity at
Amtrak, there is no economic loss to l\/lr. Hardeman in 2004 and thereafterl

As a result, l have two alternative conclusions l\/ly first calculation of l\/lr. Hardeman’s
economic losses ends December 31, 2003, the day before expected real estate income reached
and surpassed the prior earning capacity at Arntrak. From an alternative point of view, real
estate earnings in 2004 and beyond are sufficiently great so as to offset any earning loss Mr.
l-Iardeman sustained in 2003

Based on the foregoing, l have prepared two preliminary economic loss reports, which are
attached Please note that if additional information becomes available, I may augment or change
my opinions

Expert Report of Ricli ard A. Palfin:

l have reviewed the Termination Economic Loss Evaluation report of Richard Palfin dated May
31, 2006.

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Readers should note that Dr. Palfin bases l\/lr. Hardeman’s economic loss calculation on the
assumption that earnings from full-time work at Amtrak would have continued each year until
age 65. ln making this assumption of full-time work to age 65, Dr. Palfin does not appear to
have taken into account the likelihood of normal events that impact upon labor force
participation Workers are subject to layoffs, termination, voluntary career changes, disability
and even death. The impact of such events on labor force participation has been studied in the
worklife tables

l\/ly review of the worklife tables for railroad workers indicates that Mr. Hardeman’s work life
expectancy as a railroad worker at the date of termination was l4.15 years 'l`his measure does
not reflect l\/lr, Hardeman’s expected job tenure with Amtrak. lle had a history of disciplinary
actions with Amtrak. According to the Bureau of Labor Statistics, workers in locomotive
operating occupations have a median tenure with employer of 19.7 years Subtracting Mr.
llardeman’s 10.9 years of service at termination from the median occupational tenure of 19.7
years, l find that additional employment tenure would be 8.8 additional years of employment
with Amtrak beyond the date oftermination. Dr. Paltin’s calculation of l7.l9 years oflost
earnings is more than 3 years greater than the worklit`e expectancy based on the railroad worker
worklife tables, and more than eight years greater than the employment tenure expectation based
on data from the Bureau of Labor Statistics.

Additionally, upon leaving employment at Amtrak, l\/lr- Hardeman received a vacation payout in
the amount of $3,999.56. Although Dr. Palfin’s report refers to this amount as “Non-recurring,”
the vacation payout appears to be included in the annualized earnings rate used by Dr. Palfin to
calculate l\/lr. Hardeman’s economic losses in 2003 and in subsequent years The inclusion of
“Non-rectining” vacation in Mr- Hardeman’s earning capacity results in an overstatement of
economic losses My analysis for this case excludes the “Non-recun"ing” vacation payout in the
determination of Mr. Hardeman’s annual earning capacity at Amtrak.

Dr. Palfm’s analysis of fringe benefits fails to exclude employer Tier ll retirement contributions
in excess of the maximum earnings base of $64,500 for 2003. Adding together Mr. l-lardeman’s
actual earnings at Amtrak of $30,385.99 to the calculated lost earnings of $43,670.01, Mr.
Hardeman’s eamings at Amtrak would have totaled $74,056 in 2003, or $9,556 above the
maximum earnings base for Tier ll. By applying the Tier ll contribution rate of 14.2% to the
total lost earnings of $43,670.01, Dr, Palfin overstates the value of employer Tier ll
contributions

Dr. Paltin’s analysis further overstates the loss of fringe benefits by including losses to l\/lr.
Hardeman in the categories of retiree medical coverage, sick pay, and unemployment pay.
According to Mr_ R‘eisig, retiree medical coverage is only available from ages 60 to 65, and to
workers with at least 30 years of railroad service. At the date of termination, Mr. Hardeman was
47 years old with less than ll years of railroad service Therefore, Mr. Hardeman could not have
reached 30 years of service prior to age 65 and would not have become eligible for retiree
medical benefits Sick pay and unemployment benefits are payable as replacements for wages
received for work, not in addition to wages Dr. Palfin’s report already provides for lost earnings
based on the total amount of pay Mr. Hardeman received while employed Theref`ore, sick pay

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and unemployment benefits are duplicative oflost earnings and their inclusion results in an
overstatement of economic losses

Dr. Palfin calculates losses to l\/lr. Hardeman for health insurance, dental insurance, and vision
insurance Dr. Palfrn’s report is not clear as to the exact sources for the amounts included as
losses to l\/lr_ llardeman in these areas According to Mr. Reisig, l\/lr. Hardeman did not choose
COBRA coverage following his termination from Amtrak. Therefore, the costs associated with
continuing these benefit programs through Amtrak would not be applicable in determining Mr.
Hardeman’s actual out-of-pocket medical, dental and vision expenses since leaving Amtrak. lt
would be helpful to compare l\/lr. Hardeman’s actual out-of-pocket medical, dental and vision
expenses since leaving Arntrak to the amounts listed in Dr. Palfin’s report in order to determine
whether Dr. Palfm has accurately calculated any loss of health, dental, and vision coverage that
may have been incurred l understand from Mrs. Hardeman’s W-2 statement that she works for
the City and County of San Francisco. City and County of San Francisco employees have
employer paid dependent coverage available As such, l have assumed that Mr. Hardeman has
not suffered any out of pocket losses for health, dental and vision coverage

Dr. Palfin calculates present values for future losses using a net discount rate of l .98%. Dr.
Palfin’s report indicates that the net discount rate is based on the past thirty years, during which
time the interest rate has been approximately l.98% higher than the wage growth rate. lt is
unclear what specific interest rates and wage growth rates Dr. Palfm has examined to arrive at
his net discount rate opinion. However, l have analyzed interest returns and wage growth from
1975-2005 using a conservative investment vehicle of 3-year U.S. Treasury notes, and compared
these interest returns to wage growth based on changes in the average weekly earnings of U.S.
workers in the private economy per the U.S. Bureau of Labor Statistics. On average from 1975-
2005, interest returns on 3-year treasury notes have exceeded wage growth by 3.2%, well above
the relationship of l.98% indicated by Dr. Palfin. lf Dr. Palfin were to rely upon a net discount
rate of3,2% instead of 1.98% for his calculations7 the economic losses to l\/lr. Hardeman would
be reduced

Dr. Palfin’s analysis assumes that Mr. Hardeman’s earnings in real estate will be limited to
343,699 in 2005 and in each year thereafter The report provides no explanation for this
assumption According to the Mitigating lncome table in Dr. Palfin’s report, real estate income
grew from 322,068 in 2004 to $43,699 in 2005. As discussed above, Mr. Dunning’s report set
forth expected real estate income of $l4l,9l 8 in 2004 and 513 l ,958 in 2005. The assumption
that annual real estate income in 2006 and thereafter would be limited to $43,699 is inconsistent
with the 2004-2005 growth reflected in the Mitigating lncome table, and is inconsistent with Mr.
Dunning’s expert opinions To the extent that Dr. Palfin’s analysis underestimates Mr.
Hardeman’s realistic income expectations in the field of real estate, the economic loss analysis is
overstated

Alternative to real estate sales, Dr. Palfin could have investigated Mr. Hardeman’s earning
potential with another railroad/transportation employer. Such alternative investigation is
appropriate if Dr. Paltin believes that Mr. Hardeman will not be successful in earning income in
real estate at a level equal to that at Amtrak.

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Closing:
lncluded with my report are my CV, rate sheet, and a list of testimonies in the past four years

Please note that the attached report is preliminary As additional information becomes available
l may augment or change my opinions

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lf you have any questions please do not hesitate to call me-.

Sincerely,

Mark Cohen
Chief Economist

Enclosures

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ECONOM|C LOSS REPORT

Hardernan v. National Raitroad Passenqer Corp.

|V|ajor Assurnption:

l_osses Calculated to 1231/2003

June 15, 2006

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Table 1

Summary of Economic Loss

Lost Earning Capacity, Table 3: $ 46,808
|\/litigation Earning Capacity, Tab|e 4: $ §12,680)
Tota| Economic Loss: $ 34,128

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Tab|e 2

Actuarial Data

Date of Birth:

Date of Loss:

Date of Valuation:

Age at Date of Loss:

Time E|apsed Between Date of Loss and Valuation:

Age at Date of Valuation:

8/9/1955
5/30/2003
6!15!2006

47.81 years
3.04 years
50.85 years

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Table 3

Lost Earning Capacity

 

Annual
Dates (t) Perlod Eamlngs (2) Period Loss
5/31/2003 - 6/30/2003 1 0_08 $ 65,966 $ 5,277
7/1/2003 - 12/3112003 0.50 $ 66,353 $ 33,177
Subtotal, L`ost Earnings: _ $ 38,454
Plus, Employer Fuhded Beneflts (3): $ 8,354
Lost Earning Capacity: $ 46,808

 

t - Loss ends 12/31/03, the day before Mitlgation Eamlng Capacity meets and
exceeds Lost Eamihg Capacity. See also Table 4, "l\/littgation Earning Capacity."

2 - Based on year to date earnings at termination in 2003, excluding vacation payout,
of $26,385. /-\nnual Eamings Was adjusted effective July t, 2003 based on the
change that occurred in the hourly Wage rate for l\/|r_ Hardeman‘s position. Source:
Amtrak wage rate data, bates stamp AMTRAK 02691.

3 - |ncludes employer Tier ll contributions up to the maximum earnings base of
$64,500, and Tier l contributions at 7.65% of pay,

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Table 4

 

Nlitigation Earning Capacity

 

 

 

Ahnua| Period
l\/litlgation l\/|itigation
Earning Earning
Dates (t) Period CapacitylZ) Capacity (2)
5/31/2003 - 12131/2003 0.59 N)'A $ 12,660
tit/2004 -12/31/2004 1.00 $ 141,918 N/A
1/1/2005 -12/31/2005 1.00 $ 131,958 N/A
1/1/2006 - 5/26/2006 0.40 $55,790 for Period N/A
Mitigauon sarning`capacity: $ - 12,680

 

t - Ca|culation ends 12/31103, the day before l\/lifigation Eaming Capacity meets
and exceeds Lost Eaming Capacity. See also Tab|e 3, "Lost Eam§ng Capacity."

2 - |Vtitigation Eamihg Capacity in 2003 based orr actual business income as
reported on the 2003 U.S. |ndlvidual income Tax Retum for C|ltford and Roxie
Ha_rdeman. Eamlngs rates in 2004 - 2006 per the Report of Expert Withess, Don
Dunnihg, dated l\/lay 30, 2006.

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ECONOMlC LOSS REPORT

Hardeman v. Nationa| Railroad Passenqer Corp.

Major Assurnption:
No Economic Loss

Eamings in Real Estate Exceed 'l“hose at Amtrak

June 15, 2006

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MARK COHEN

CURRICULUM VITAE

FlNANCIAL, STATISTICAL & REHABILITATION ECONOMIST

PAClFlC ECONOMIC CONSULTANTS, INC., Lafayette, Califomia, 1995 to Present.
Principal, Chief Economist. Valuation of businesses and economic losses in business,
personal injury, wrongful death, labor and marital litigation Preparation of statistical
analyses, vocational, labor and job market consultation and studies Development
and placement of structured settlement alternatives '

BAY AREA PSYCHOTHERAPY TRAlNlNG lNSTlTUTE, Lafayette, California, 1994
to 2001 . '
Member, Board ofDirectors Consultation in the business development and
management of this non-profit training institute

THB UDINSKY GROUP, Berkeley, California, 1984 to 1995.
Vice President. Valuation of businesses and economic losses in business7 personal
injury, wrongful death, labor and marital litigation Preparation of statistical
analyses labor and job market consultation and studies Development and placement
of structured settlement alternatives

TEACHING EXPERIENCE

DOMlNlCAN UNIVERSITY, San Rafael, California, l992 to 1998.
Adjunct Professor of Graduate Leve] lntemational Finance, Monetary Systems and
lnvestments, M.B.A. Program; Undergraduate Level lnternational Finance and
Investments, Business School Program.

EUROPEAN BUSINESS SCHOOL, Brussels, Belgium, 1991.
Adjunct Professor of Undergraduate Level Money and Banking, Statistics, and
Managernent.

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EDUCATION

UNlVERSlTY OF CALlFORNlA AT BERKELEY. Bachelors of Science, Business
Administration, 1982 Emphasis in Finance.

BOSTON UNIVERSITY. l\/lasters of Science, Management, l991. Emphasis in
lntemational Finance. Graduated first in class

ST. MARY’S COLLEGE. Masters of Arts, Counseling, 1998. Emphasis in
Vocational Rehabilitation and Career Counseling.

LlNDENWOOD COLLEGE: (l) Piinciples of Business Valuation, (2) Business
Valuation Theory and Methodology, (3) Business Valuation: Selected Advanced
Topics.

PUBLICATIONS AND INVITED PRESENTATIONS

“Economic lssues Por Vocational Experts To Consider in Vocational Analysis,”
presented to the California Association of Rehabilitation and Re-Employment
Professionals, Oakland, November 2002.

“Estimating Economic Loss To lnjured Self Employed Workers,” presented to the
American Rehabilitation Economics Associations (AREA), Reno, May 1998.

“Methodologies to lmprove Economic and Vocational Analysis in Personal lnjury
Litigation,” with Thomas Yankowski, M.S., C.V.E., litigation Econoinics Digest,
National Association of Forensic Economics, Missouri`. Volume ll, lssue No. 2,
Summer l997. Also published in Vocational Eva]uation and Work Adiustment
lournal The Professional lournal of Tlie Vocational Evaluation and Work
Adjustment Association, Volume 31, No. %, FallfW inter 1998.

 

“Vocational Evaluation and Economic Analysis in Personal lnjury and Wrongful
Tennination Cases,” with Thomas Yankowski, M.S., C.V.E., presented to the
National Association of Rehabilitation Professional in the Private Sector; San
Francisco, April 1995_ ' '_
“Tlie Economics of Employment Discharge and Your Case,” with lerald H. Udinsky,
Ph.D., A.S.A., The Lawyer’s Brief, Business Laws, lnc., Ohio. Volume 20, lssue No.
5, March 15, 1990.

“Estimation of Future Medical and Rehabilitation Care Costs: lssues and Questions
for The Attention of Rehabilitation Professionals,” presented to the Registered Nurses
Professionals Association, Santa Clara Valley Medical Center, January 1990.

LICENSES, CERTIFICATIONS AND ASSOCIATIONS

Certified Earnings Analyst, American Rehabilitation Ecoriomics Association.
American Society of Appraisers, Business Valuation.

California State Licensed Life lnsurance Agent.

American Economics Association.

California Association of Rehabilitation and Re-Employment Professionals.
Western Economic Association.

National Association of Forensic Economics.

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RATE SCHEDULE

Effective 2/1/06

$2 60 per hour for review, consultation, analysis and travel

$495- per hour, one-hour minimum, for deposition and trial testimony

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Name

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Dodson v. Timbercove

Romero v. Kaiser

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Norris v. Stein

l\/iunroe v. |Vtatson Navigation Company
Gardner v. Paramount Perks, |nc.
Chang v. TSIVl insurance

Lacey v. Northbay Hea|th Care Services
Baritot v. Bowers

Heffelftnger v. Centret Concrete Su
l\/lisita v_ Novotny

Beasley v, EBMUD

Sancimino v. Dolen

Jonnson, Ronatd, Jr. v. Kaiser
Reinneimer v. Wagner

Torres v. Standard Paciftc

Hackett v. l-tome Depot

l“-`amily Enterprise & Swartz v Besc:a|
Snipley v. Nlisle

Burbank v. 't'ranserve, et al

Sanders v_ Gladen, M.D,

Forbes v. United Air|ines

Peterson v. Shapeii

Riet)e v_ Pankow

Patt v. l\/lemorial Hospital, et al

Carter v. Watgreens

Nlartinez v. Bovis i_end Lease

Forbes v. United Airiines

Riebe v. Panl<ow

Donnellan v. DEB Construction

Glen Hoily Entertainment v. Tektronix
Adams v. Ceiif. Pacitic Nleclical Center
Puryeer _v. Maris

Boo|<er v. Bay Area Contract Trans.
Van Alstine v. Bay Va||ey Medicat
Rickabaugh v. Encho

Bever|in v. State of C.`alifornia

Serreno v. Ryan Associates

McLean v. Werd N|achinery

Bool<er v. Bay Area Contraet Transportatio
Pratt v. Rarnirez

Kamber v. A|iied Group !nsurance
Serrano v. Ryan Associates

t_opez v. Shows

Sepulveda v. ESCO Trensportation, et al
PuWearv.Mans

Aderholt v. Dauphinais, et al

Hill v. l-tenley 81 Co.

Ske!ton v. Brezinsky, M.D./#46151

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Memo

Deposition testimony
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Trial testimony

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Name

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Wil|iams v_ United Airlines

Bradford v. lVlariner's Center t.P
Kamber v. Aiiied Group insurance
Titswortn v. Good Samaritan l-tospita
Ayala v_ Avaion Bay Communities, ln
Furhman v. Kaiser

Bates v. Keirsey

Murphy v. l\/loGinnis

Stromer v. l-ieiiman & Service Craft
Shriver v. Bry

l_oftis v. Chau

Bates y Keirsey

Bates v. Keirsey

El-Mobdy v_ Matson Navigation
t\/lelone v. Puza

Statucki v. Krane~Pro

Battram v. JJ Rebar Corp.

Jaso v. Kaiser

Beavers v. Rittenhouse

i_efebvre v. Banker

Beverlin v. State of Ca|ifomia
Peterson v. Case

Godman v. Placer Union i-ligh School
Landers v. Salas

Niartinez v. Gores

Giuliano v. Nudd|eman

Edgeii v. AS|Vl

McEianey v. Raging Waters

Heath v. AW Construction, et ai
Corey v. Targ, et al

Greenweil v. Kaptan M.D., et al
Heath v. AW Construction, et al
i\/lurphy v. lVchinnis

Cain v. Ke|lar, et al

Bryant v. Wiitard

Gregory v. United Air|ines

Rustico v. SKS lnvestments, et ai
Castil|o v. Weiss Sheet iv‘letai
Cheung v. Corporate lnterior Soluti
Lovett v. CCSF

Romo & Ruiz v. Blact< Diamond Asphai
Dapru, lnc. v. New Boston Seiect Gr
Kisi v. Enterprise Rent-A-Car, eta
Castillo v. Weiss Sheet Mete|
Bertram v. |V|erritt Behavioral Care, et al
Dapru, lnc. v. New Boston Select Group
Diehl v, Piummer, et at

Pack v. Kaiser

Diehl v. Plummer, et al

Samra v. Sorenson's Ranch Scnoo|

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l\/!itier v. United Airiines

Gregory y Unitecl Airiines

Kisi v. Enterprise Rent-A-Car, et al
Greenwell y Kaplan |'\/l.D., et ai
McC|esl<ey v. Wingate, et al

Leyvas v. Wasiiington `i'ownship Hospi
O'Neill v. Steiner's Tavern

Hoim v. l\)lervyn's, et al

Ghattas v. Rothenberg

Corbin v. Fremont Hospitai

Rivers y Scoiari

Steele y Paeinc Beii

Ward v. Younger

Horan v. Beverage Distrit)utors, inc
Budonv.FnemaWsFund

Geines v. Lockneed Nlartin
Shimogaki v. Tangpraphaphorn, et al
Lu v. Kaiser

Birch v. iFS

Quan v. CPMC

Chen v. Sheinberg

l_arsen v. Fie|d, et al

Avdaias v. Werner Co.

Brown y Burke

Mezav_Shon

Wiliiams v. County of Aiameda, et a
Larsen v. l\/latson Navigation
Woodall v. Jones

Shropshire v. City of Wa|nut Creei<
Steinmetz v. Lacy

Gibson Tiie

Stueekle v. i\/lercy Medicai Center
Current/LowfRamos v. S Bay Constru
Hinajon v. WMAS

May v. Evershine Group

Waish v. BFi, et ai

Mil|er v. Stan|ey-Bostitch

i_eyyas v. Wasnington Township Hospitai
Ursua v. Biagi Bros. Trucking, et a
Vaziri v. City of St. Heiena, et al
Douglas v. State of Ca|ifornia
Reynoids v. Rodriguez

Ursua v. Biagi Bros. Trucking, et ai
Brione-Archer v. AAA insurance
l\)tcintyre v. Kaiser

Yaser y Slnel| Oii

Snropshire v. City of Walnut Creek
`|'urner & Dougherty v. USS-Posco ind
l<rahn v Santa Rosa lvtemoria| Hospit
Miller v. Chaliinor

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Name

Royal Oek v. Howel|

Yarre|l y City of i_iverrnore

Bartiett y Travelers insurance Co,
Scully v, Japanese Senior Citizens,
Brown y Buri<e

Ronan v. Stompro, M.D.

Brown v. Valiejo _Transport

i_arsen v. l\/latson Navigation
Brown v. Vai!ejo Transport

|Vloreno v. Pharn, et al

Conway v_ Pacitic, et al

Bourgeau v. Peterson Buiiders
Ciark v. Doctor's Niedica| Center
Apodaca v. Wilshire Paint Co.
Fernandez v. Ross island Sand & Gra
MeCoy v. Bank of America

Royai Oek v. Howel|

Bressler v. Valley Petroleum, |ne.
St. Paul v, Howard industry
Cnastain v. Napa Sanitation
Smnmnv.PG&E

Paullin v_ Kaiser

Hobbs y URS Corp., et al

Gobie v. Kaiser

Fuentes v. TWE Enterprises
Jonnson v. lVloore

Sartain v. Allied Engineering, et a
MacDona|d, Jason v. Eden Medical Ce
i-iung v. i\/lazda

Bressler v. \/ailey Petroteum, lnc.
Pauiiin v. Kaiser

Amendola v. Petersen

Sac. Radiology v. Comprehensive lVled
Chastain v. Napa Sanitation
Fonseca v. Kaiser

Linam v. Chavez

Torgerson v. MJC Trueking, et al
Ray v. Goodman

Gig|io v. Seacore Marine, inc.
Hal|oran v. Fiikington North America
Costa v. Wong, et al

Vang v. El|is, et al

\/argas v. Ashras

DeLaRosa v. Kaiser

Hobbs v. UR-S Corp., et al

i-iii|man v. James Roberts-Obayashi,
Prince v. Kaiser

Dei_aRosa v. Kaiser

Ketzenberg v. Farrners insurance
Green v. Oi'Fioe l\)iax

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l-'aclnc Economic Consultants, lnc.

Name

Prince v. Kaiser

Jessup v_ Lul<as

\/aiiejo Comm. Sve. Ctr. v City of V
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Wiison v. Senitary Fill Co_
Ba|ientine v. Villa, Darquea
Pisinsi<i y Katzne|son, M.D.

Love!l v. Konl<lin

Vang v. Eilis, et ai

Stahi v. Deebie

l-lailoran v. Pii!<ington North America
Evans v. Zwer|ing, M.D.

Bozmarov v. Kaiser

Giass v. California Autism Foundati
Mohamed y ASi\/l

Halloren v. Pilkington North Amerio
Bozmarov v. Kaiser

Lorenzo v. Turloek irrigation Distr
Jimenez v. Engineered Construction
Wuestewaid v. Foss lviaritime, et al
Mullin-Rice v. U.S.

iV|waniki v. E-Bay

Nlenciez v. t_ee, et ai

Mwaniki y E-Bay

Veenstra v. G.E. Financia| Holdings, |nc.

Tueli v_ Dainer

l\/iarx v. Storage `l'eennoiogy Corp.
Roberts, Lonnie v. Kaiser

Carias & i\/|oriarty v. Pugliese inter
Hayes, Juanita v.' Kaiser

Nlarini Skin Research v. Ailure Cosm
Osbome v. Wanetick

Bishop v. Kaiser

l\/iarini Si<in Research v. Ailure Cosmetic
Warnoci< v. i_akiredciy

Patchett v. Adcon Bui|ders, et at
Pierce v. Nla||icl<

Niarks v. Stoil, Nussbaum & Poiakov
Salamanca v. CF&T Avai|abie Concret
Slone v. Kaiser

Stanley v_ Bodner, M.D.

Peai<e v. Chevron

Gochman v. Childress

Lowry v. Kaiser

Dougias v. State of Catit'ornia

Bily v. Aiameda County Medical Ctr.
Latham v. Neison, et at

Wuestewald v. Foss Maritime, et ai
Marx v. Storage Technology Corp.
Salamanca v. CF&T Avaiiable Concrete
San l\/lartin v. Antioch Schoo|s Feder

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Noveii v. Unicom

Gin v. Kaiser

Cruz v. City of Treoy, et al

Osbome v. Wenetick

Vidovcich, Estate of

Pena v, CF&T & Availebie Concrete P
Sanberi v. Siiicon Velley Chemtebs,
Azeri v. Kaiser

Treveier's tns. v_ AAA Fire Protect
Green, Jenne v. Kaiser

Perry, Jason v. Brooi<

Fowkes v. Foster

Man y Northstar-et-Tahoe

Horihen v. Ramirez, et al

Cruce y Masso|e Brothers

Long v. Allergan

Sahbari v. Siticon Vetiey Chemlebs, inc.
Rey v. Goodmen

Ainiey v. Vreeland

Reed y lVlarvin Windows, et ai
Aipert v. Hunt

Fowkes v. Foster

Pena v. CF&T & Aveitebie Concrete Pumping
Azari v_ Kaiser

Benediktsson v. Nichitean

De| Monte v. Sheperd Brothers
Ness v. Aiexander & Baidwin, |nc.
Gien Hoiiy Enterteinment v. Tektron
Cruoe v. Messola Brothers

t-iatch v. Bionx

Hernendez v. Degroot & Sons
i\/iil|er, George v. Vicorp Resteurents
Khezin v. CCSF

McCawv_TaWor

Nieyer v. Seeridge Construotion
Pieroe v. Meitiol<

VVi|lierns v. Romanowski

Ain|ay v. Vreeiend

Astor v. Rent-A-Center, inc.

Karr v. Los Getos Motor inn

Pine v_ USF Bestways
Benediktsson v. Nichitean

Dei Monte v. Shepard Brothers
Chen v. Sheinberg

Hernandez v. Degroot 81 Sons
Lewis, George v. U.S., USNS Yano
Wi|son v. Anern

Higgins v. Hensei Phetps Construction
Sert<ts v. Sari<is

Serkis v. Sarkis

Dungca v. ASN|

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LIST OF TESTIMON¥ES

Name

Lewis, George v. U.S., USNS Yeno
Greene y Nioore Materiat Handiing
Hughes v. City of Stockton
Veilence v. TRL, inc.

Reed v. New Century N|ortgage
Tsuji v. Steward

Godmen v. Plecer Union High Schoot
Shields v. Granite Construction
Niokote v. BNSF Reitway Compeny
Reyes v. ABAG

Reyes v. ABAG

iqbai/Modica v. Riddie
IqbeI/|Viodioa v. Ridd|e

Wheat v. Butte County

Wheat v. Butte County

Chritton v, Jeck in the Box
Shanburn v. Peaceheaith

Thomes v. Bennett

Buonocore v. Castro

Determan v. Herzig

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'Gtenn v, Centrai Pasitic Sprint<ier
Breddock & Logan v. Sitverwood Development
Wii|iarns v. Germenn

Sheriden v. Lowe's

Btackman v. Stete Farm

iviorgen v. Kiute

i\/iorgan v. K|ute

O.|.S. v. Fui<uhera

Dake v. Larrance

Rockenbeoh v. Peeceheeith
Braddocl< & Logen v. Si|verwood Development
Pavetka v. Groitmus

Buonooore v. Cas`tro

i\/iorsey v. islamic Society of S.F. _
Kenney v. Pribuss Engineering
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t_eskody v. Waidrep

Viking Construotion v. Nor-Cal Reedy Mix
Pine v. USF Bestways

Bank of America v. Guzy

Bank of Amerioa v. Guzy

i\/iadden v. Anderson

G!enn v, Centra| Pecific Sprinkier

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3732 MOUNT DlABLO BOULEVARD, SUlTE 372 TELEFHONE: (925) 299-1200
LAFAYETTE, CAL|FORN|A 94549 FACS|M|LEl (925) 299-1490

July 27, 2006

R. Scott Erlewine

Phillips, Erlewine & Given LLP
One Embarcadero Center, 23rd Floor
San Francisco, Caiifomia 94i it

Re: Hardeman v. National Railroad Passenger Corp.

Dear l\/Ir. Erlewine:

You have asked me to prepare a supplemental report in response to the work product and
testimony of Richard Paltin and Me]vin Frediund_

ln supplement to my prior report, Ireviewed_.

Deposition Transcript of Ric,hard Paltin;
lune 28, 2006 Report of Richard Paltin;
May 15, 2006 Repor'i oi`Melvin Fredlund;
Deposition Transcript of Melvin Fredlund.

.i>»»->.N.~

tn supplement to my prior report, l accessed Bureau of Lat)or Statistics data regarding the
earnings of real estate sales professionals, Bureau of Labor Statistics data on expected job search
time, Drake Bearn Morin data regarding expected job search time, and Chalienger, Gray &
Chn`stmas data regarding expected job search time. l additionally have contacted Nancy
Campani at Union Pacitic, Jacqueline Gomez at Burlington Northem Santa Fe, and Rick
Peterson at the Federal Railroad Adrninistration regarding railroad employment opportunities
post termination for someone in Mr. Hardeman’s position

As I indicated in my prior report, Dr. Palf`m could have investigated Mr Hardeman s earning
potential with another railroad/transportation employer if Dr. Palt`in did not believe that Mr.
Hardeman will be successful in earning income in real estate at a level equal to that at Amtrak.
At`ter review of Dr. Palf`in’s deposition, I found that lie made no such inquiry Ihave made such
an inquiry and found that i\/ir. Hardeman would be a competitive candidate for re- employment in
the railroad industry I have attached my analys is of economic Iosses assuming that Mr
Hardeman would have made an effort to mitigate his losses by seeking employment in the
railroad industry

SOUTHERN CAI.]FORNIA OFFICE
5743 SMWMAY STFiEET. SUFTE 106 - LOS ANGELES, CAL|FOFIN|A 90040 ' TELEPHONE: (323) 722 - 8047 ' FACS|MILEZ (323) 722 - 2064

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R. Scott Erlewine
Page 2
July 27, 2006

With regard to Dr. Paltin’s comments regarding my qualifications it should be noted that Dr.
Palt`m is not a finder of fact in this matter and has no objective standing to indicate whether l am
qualified to act as an economic expert. My experience in qualifying as an economic expert in
more than 100 trials alone should provide a history as to the Court’s evaluation of my
credentials My training in economics, business, finance, vocational rehabilitation, career
counseling, as well as my two master’s degrees, have provided me with more classroom training
in subject matters relevant to this case than a typical Ph.D. in economics

With respect to Dr. Fred]und’s analysis, he is critical of Mr. Dunning for not using a random
sample to determine expected earnings for l\/Ir. Hardeman in the real estate industry Dr.
Fredlund goes on to indicate earning rates for real estate brokers based on data that he appears to
indicate is based on a random sample l have several comments with respect to his analysis and
testimony

First, Dr. Fredlund assumes that a random sample should be used in calculation of earnings as a
real estate broken Such an assumption is not justified in Dr. Fredlund’s report, The task at hand
is to evaluate l\/lr. Hardeman’s economic loss, not an unknown person living in an unknown U.S.
towu. Mr. Dunning has provided an assessment of the earnings potential for Mr. Hardeman, not
a random person Mr._Dun_ning, in the body of his report indicates that he used a
“representative” sample of individuals to indicate his opinions oer. Hardeman’s expected
earnings l agree that a representative sample is an appropriate standard for evaluating Mr.
Hardeman’s expected earnings

Second, Dr. Fredlund indicates that the median earnings for real estate brokers in 2004 was
$58,720. This tigure, however, is based on nationwide statistics Mr. Hardeman lives in
Califomia. People in California tend to earn more than those on average nationwide The same
study by the Bureau of Labor Statistics indicates that the mean earnings for real estate brokers in
Califorriia, in 2004 was $l2] ,830. Such a measure is similar to Mr. Dunning’s indicated rate for
2004 of $135,61 9 as reported by Dr. Fredlund.

Closing:

Please note that the attached report is preliminary A_s additional information becomes available,
l may augment or change my opinions -

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R. Scott Erlewine
Page 3
July 27, 2006

lf you have any questions, please do not hesitate to call me.

Sincerely,

H/a{/éz_\
Mark Cohen
Chief Economist

Enclosures

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PAcrr=lc EcoNoMrc CoNsULTANTs, INc.

 

3732 MOUNT DlAB'LO BOULEVARD, SU|TE 372

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FACS|MILE: {925) 299-1490

ECONOM|C LOSS REPORT

Hardemart v. Nationa| Rai|road Passenqer Corp.

Major Assumption:

Retum to Work in Ra'llroad industry

July 27, 2006

SOUTHERN CALIFORN].A OFFlCE
5743 SM|THWAY S`-|'REET, SUlTE 106 - LOS ANGELES, CAL|FOFINFA 90040 ' TELEPHONE: (323) 722 - 8047 ~ FACS|MILE: (323) 722 ~ 2064

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Tab!e 1

Summary of Economic Loss

Lost Earning Capacity, Table 3: $ 261,648
l\/titigation Earning Capacity, Tab|e 4: $ (183,992)
Total Economic Loss: $ 77,656

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Table 2

Actuarial Data

Date ot Birth:

Date of Loss:

Date ot Valuation:

Age at Date of Loss:

Time Elapsed Between Date of Loss and \/a|uation:

Age at Date of Valuation:

?.?

8!9/1955
5/30/2003
10/2/2006

47.81 years
3.34 years
51.15 years

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Table 3

Lost Earning Capacity

 

Dates (1) Period
5/31/2003 - 6/30/2003 0,08
7/1!2003 - 12/31/2003 0.50
1/1/2004 - 6/30!2004 0.50
7/l/2004 - 12131/2004 0.50
tit /2005 - 6/30/2005 0.50
771/2005 » 12/31/2005 0.50
ill/2006 - 8/30/2006 0.66

Subtota|, Lost Eamings:
Plus, Employer Funded Benefits (3):

Lost Earning Capacity:

 

Annuai

Earnings (2)`

s es,see
s 66,353
3 66,426
s ee,e44
$ 66,935
$ 67,298

$ 68,049

Period Loss
3 5,277
3 33,177
$ 33,213
$ 33,322
$ 33,468
$ 33,649
$ 44,912
$ 217,018
3 44,630
$ 261,643

t - Loss ends 8/30!06, the day before iVlitiQation Eaming Capacity meets and
exceeds Lost Eaming Capacity. See also Tab|e 4, "l\/|itigation Earning Capacity."

2 - Based on year to date earnings at termination in 2003, excluding vacation
payout, of $26,386. Annual Earnings Were adjusted based on changes that
occurred in the hourly wage rate for Mr. Hardeman's position Source: Amtrak

wage rate data, bates stamp AMTRAK 02691.

3 - lncludes employer Tier ll contributions up to the maximum earnings base for
each year, and Tier | contributions at 7.65% ot pay.

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Table 4

Mitigation Earning Capa¢:ity

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Annual Period
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Earning Earning
Dates (t) Period Capacity (2) Capacity
5/31!2003 - 8/30/2003 0.25 Job Search Pen'od
8/31/2003 - 8/30/2004 1.00 $ 42,385 42,385
8/31/2004 - 8/30/2005 1.00 $ 50,619 50,619
8/31/2005 - 8/30/2006 1.00 $ 59,624 59,624
8/31/2006 - 1012/2006 0.09 $ 69,107 N/A
Subtotal, Nlitigation Earnings: 152,628
Plus, Emp!oyer Funded Benefrts (3): 31,364
Mitigation Earning Capacity: 183,992

1 - A job search period of 13.11 weeks was calculated based on an average of the

following: (1) August, 2003 Bureau of Labor Statistics' median period of

unemployment for males 45 to 54 of 13 weeks; (2) August, 2003 Bureau of l_abor
Statistics’ median period of unemployment for black males of 13.1 weeks; (3)
August, 2003 Bureau of l_abor Statistics' median period of unemployment for
transportation and material moving occupations of 11_3 weeks; (4) average job
search time in the Pacitic region of 3.1 months as indicated by Drake Beam lvlorin
(DB|V|); (5) median length of job search in the 2nd quarter, 2003 of 3.4 months as
indicated by Challenger, Gray & Chn`strnas, lnc. Calcu|ation ends 8/30/2006, the
day before Annua| i\/litigation Earning Capacity meets or exceeds Annual Lost
Eaming Capacity. See also Table 3, "Lost Earning Capacity."

2 - Based on annual earnings in 2006 dollars ot $45,833 to start, increasing to a

mature rate of $71,667 after 3.33 years of employment Sou_rce: railroad industry
telephone contacts Earnings were adjusted to 2003 - 2005 based on changes in
the average weekly eamings for production and non-supervisory workers, per the

Bureau of Labor Statistics.

3 - includes employer Tier ll contributions up to the maximum earnings base for

each year, and `|“ierl contributions at 7_65% ot pay.

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